                Case 8:22-bk-10948-SC                   Doc 1 Filed 06/08/22 Entered 06/08/22 08:13:36                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                TRX Holdco, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  450 Newport Center Drive, Suite 590
                                  Newport Beach, CA 92660
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.trxtraining.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    TRX Holdco, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3399

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                         Chapter 11. Check all that apply:
                                                            Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                               Case number
                                                District                                 When                               Case number

10. Are any bankruptcy cases           No
    pending or being filed by a
    business partner or an             Yes.
    affiliate of the debtor?




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor    TRX Holdco, LLC                                                                               Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor       Fitness Anywhere LLC                                         Relationship               Affiliate
                                                                Central District of
                                                   District     California           When             6/08/22                Case number, if known      TBD


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                           5001-10,000                                50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50     million              $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    TRX Holdco, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 8, 2022
                                                  MM / DD / YYYY


                             X                                                                            Brent Leffel
                                 Signature of authorized representative of debtor                         Printed name

                                         Chairman of the Board of Managers of
                                 Title   TRX Holdco, LLC




18. Signature of attorney    X                                                                             Date June 8, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ron Bender 143364
                                 Printed name

                                 Levene, Neale, Bender, Yoo & Golubchik L.L.P.
                                 Firm name

                                 2818 La Cienega Avenue
                                 Los Angeles, CA 90034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (310) 229-1234                Email address      rb@lnbyg.com

                                 143364 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         TRX Holdco, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 8, 2022                            X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Brent Leffel
                                                                         Printed name

                                                                         Chairman of the Board of Managers of TRX Holdco, LLC
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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 Fill in this information to identify the case:
 Debtor name TRX Holdco, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                      Check if this is an
                                                CALIFORNIA - SANTA ANA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Creative Artists                                                Trade Debt                                                                                               $41,668.00
 Agency
 2000 Avenue of the
 Stars Speakers
 Dept.
 Los Angeles, CA
 90067
 Cole Schotz P.C.                                                Professional                                                                                             $13,200.00
 25 Main Street P.O.                                             Services
 Box 800
 Hackensack, NJ
 07602
 Baker Tilly US, LLP                                             Professional                                                                                             $10,335.00
 10 Terrace Court PO                                             Services
 Box 7398
 Madison, WI
 53707-7398
 UDR-Eight 80                                                    Trade Debt                                                                                                 $5,898.00
 1590 Adams Avenue
 PO Box 2350
 Costa Mesa, CA
 92628
 Morrison & Morrison                                             Professional                                                                                               $4,500.00
 222 Souther                                                     Services
 Riverside Plaza
 Chicago, IL 60606
 Sterling Legal                                                  Professional                                                                                               $1,299.00
 Solutions, Inc.                                                 Services
 26895 Aliso Creek
 Rd., B-129
 Aliso Viejo, CA
 92656
 JMBM LLP                                                        Professional                                                                                                 $156.00
 1900 Avenue of the                                              Services
 Stars
 Los Angeles, CA
 90067


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
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                                                     Main Document    Page 7 of 12
Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Ron Bender 143364
2818 La Cienega Avenue
Los Angeles, CA 90034
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyg.com




     Debtor(s) appearing without an attorney
     Attorney for Debtor

                                              UNITED STATES BANKRUPTCY COURT
                                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

In re:
                                                                                  CASE NO.:
            TRX Holdco, LLC
                                                                                  CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: June 8, 2022



                                                                                         Brent Leffel, solely in his capacity as Chairman of the
                                                                                         Board of Managers of TRX Holdco, LLC

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date:
                                                                                         Signature of Attorney for Debtor (if applicable)



                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                       TRX Holdco, LLC
                       450 Newport Center Drive, Suite 590
                       Newport Beach, CA 92660


                       Ron Bender
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P.
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       U.S. Trustee - Santa Ana
                       411 West Fourth Street
                       Suite 9041
                       Santa Ana, CA 92701-8000


                       Baker Tilly US, LLP
                       10 Terrace Court PO Box 7398
                       Madison, WI 53707-7398


                       Cole Schotz P.C.
                       25 Main Street P.O. Box 800
                       Hackensack, NJ 07602


                       Creative Artists Agency
                       2000 Avenue of the Stars Speakers Dept.
                       Los Angeles, CA 90067


                       Equity 38, LLC
                       450 Newport Center Drive, Suite 590
                       Newport Beach, CA 90266


                       Haymaker Partners, LLC
                       450 Newport Center Drive, Suite 590
                       Manhattan Beach, CA 92660
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                   JMBM LLP
                   1900 Avenue of the Stars
                   Los Angeles, CA 90067


                   Katten Muchin Rosenmann LLP
                   Attn: Jan Harris Cate, Esq.
                   515 South Flower Street, Suite 1000
                   Los Angeles, CA 90071


                   Law Office of Michael A. Zuercher, Inc.
                   4105 Via Largavista
                   Palos Verdes Estates, CA 90274


                   Morrison & Morrison
                   222 Souther Riverside Plaza
                   Chicago, IL 60606


                   Sterling Legal Solutions, Inc.
                   26895 Aliso Creek Rd., B-129
                   Aliso Viejo, CA 92656


                   UDR-Eight 80
                   1590 Adams Avenue PO Box 2350
                   Costa Mesa, CA 92628


                   Woodforest National Bank
                   Attn: CMB Loan Operations
                   25231 Grogans Mill Road, 6th Floor
                   The Woodlands, TX 77380


                   Woodforest National Bank
                   Attn: David A. Macdonald
                   1330 Lake Robbins Drive, Suite 500
                   The Woodlands, TX 77380
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                                TRX HOLDCO LLC
           BOARD RESOLUTIONS RELATING TO CHAPTER 11 BANKRUPTCY CASE

                                       June 3, 2022

  The following Resolutions were duly enacted by a unanimous vote of the Board of
  Managers (the "Board") of TRX Holdco LLC (the “Company”), at a duly noticed meeting
  of the Board held on June 3, 2022, and the same shall remain in full force and effect,
  without modification, unless and until the Board adopts a further resolution to the
  contrary:

              RESOLVED, that the Company shall file a voluntary petition under
              chapter 11 of the Bankruptcy Code on the date determined by
              Brent Leffel (“BL”), in his capacity as the Chairman of the Board, to
              be in the best interests of the Company, its creditors and other
              parties in interest, after consultation with the Company’s counsel
              and financial advisor. BL is authorized to sign the voluntary
              bankruptcy petition and all related documents for the Company as
              the authorized representative of the Company, and BL is authorized
              to designate any other officer, professional or designated
              representative to sign any such documents on behalf of the
              Company.

              FURTHER RESOLVED, that the Company’s retention of Kroll
              Securities, LLC (“Kroll”) to serve as the Company’s investment
              banker and financial advisor is approved upon terms that are
              mutually acceptable to the Company and Kroll. BL, in his capacity as
              the Chairman of the Board, is hereby authorized to negotiate the
              terms of the Company’s employment of Kroll and to execute the
              Company’s retention agreement and/or bankruptcy employment
              application with Kroll or to designate any other officer, professional
              or designated representative to sign any such documents on behalf
              of the Company.

              FURTHER RESOLVED, that the Company’s retention of Levene,
              Neale, Bender, Yoo & Golubchik L.L.P. (“LNBYG”) to serve as the
              Company’s bankruptcy counsel is approved upon terms that are
              mutually acceptable to the Company and LNBYG. BL, in his capacity
              as the Chairman of the Board, is hereby authorized to negotiate the
              terms of the Company’s employment of LNBYG and to execute the
              Company’s retention agreement and/or bankruptcy employment
              application with LNBYG or to designate any other officer,
              professional or designated representative to sign any such
              documents on behalf of the Company.
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            FURTHER RESOLVED, that, in his capacity as the Chairman of the
            Board, BL is hereby authorized to cause the Company to employ any
            other professionals to represent or assist the Company in
            connection with the Company’s chapter 11 bankruptcy case that BL
            deems to be in the best interests of the Company and to execute
            such other retention agreements and/or bankruptcy employment
            applications or to designate any other officer, professional or
            designated representative to sign any such documents on behalf of
            the Company.

            FURTHER RESOLVED, that following the filing of the Company’s
            chapter 11 bankruptcy case, BL, in his capacity as the Chairman of
            the Board, is hereby authorized on behalf of and in the name of the
            Company to execute and file and to cause counsel to the Company
            to prepare with the assistance of the Company as appropriate all
            petitions, schedules, lists and other papers, documents and
            pleadings in connection with the Company’s bankruptcy case, and
            to take any and all action that BL deems necessary and proper in
            connection with the Company’s bankruptcy case without the need
            for any further approval of the Board unless the Board subsequently
            decides to the contrary. Such actions that BL has the authority to
            cause the Company to take without any further approval of the
            Board (unless the Board subsequently decides to the contrary) shall
            include, but not be limited to, all of the following: employing and
            compensating professionals; seeking Bankruptcy Court approval for
            the Company to use cash collateral and/or obtain post-bankruptcy
            financing and executing any agreements related to any of the
            foregoing; compensating employees; hiring and terminating
            employees; purchasing product or materials; selling product;
            entering into or continuing with agreements; collecting accounts
            receivable; negotiating with creditors, lenders, vendors, suppliers
            and landlords; assuming, assigning, or rejecting executory contracts
            and unexpired leases; renegotiating the terms of executory
            contracts and unexpired leases; signing new or amended contracts
            and leases; commencing and defending litigation involving the
            Company; selling or liquidating some or substantially all of the
            Company’s assets; causing the Company to propose a plan of
            reorganization or liquidation and related disclosure statement and
            to seek to confirm a plan of reorganization or liquidation; and
            causing the Company to take whatever steps are necessary to be in
            compliance with any orders of the Bankruptcy Court. BL is also
            authorized to designate any other officer, professional or



                                          2
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            designated representative to sign any documents related to any of
            the foregoing on behalf of the Company.

            FURTHER RESOLVED, that all prior acts and deeds of BL or the other
            officers of the Company acting in their capacity as a Manager or
            officer of the Company, as the case may be, taken to carry out the
            intent and accomplish the purposes of the foregoing resolutions,
            are hereby approved, adopted, ratified and confirmed in all
            respects as the respective acts and deeds of the Company.

            FURTHER RESOLVED, that BL, in his capacity as the Chairman of the
            Board, is authorized to sign these Resolutions of the Board in the
            place and stead of all other Board members.


        IN WITNESS WHEREOF, the Board has authorized, adopted, ratified and
  approved the above resolutions.

                                          MANAGER:


                                             __________________________
                                             BRENT LEFFEL




                                         3
